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Debtor Name Free Speech Systems LLC

United States Bankruptcy Court for the: Southern District of Texas

U) Check if this is an
. 22-60043
Case number: amended filing

Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11 12117
Month: April 2024 Date report filed: 05/28/2024

MM /DD/YYYY
Line of business: Dietary Supplement Sales NAISC code: 325411

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: J Patrick Magill

Original signature of responsible party —_Tratrickwagiil (way 20, 2024 0845 con

Printed name of responsible party J Patrick Magill

a 1. Questionnaire

Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

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N/A
If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

Did the business operate during the entire reporting period?

Do you plan to continue to operate the business next month?

Have you paid all of your bills on time? (Note: Subject to the Constraints of the Cash Collateral Budget)
Did you pay your employees on time?

Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?
Have you timely filed your tax returns and paid all of your taxes?

Have you timely filed all other required government filings?

Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?

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Have you timely paid all of your insurance premiums?

If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.

10. Do you have any bank accounts open other than the DIP accounts?

11. Have you sold any assets other than inventory?
12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?*** NOTE 1 ***
13. Did any insurance company cancel your policy?

14. Did you have any unusual or significant unanticipated expenses?

15. Have you borrowed money from anyone or has anyone made any payments on your behalf?

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16. Has anyone made an investment in your business?

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17.
18.

Have you paid any bills you owed before you filed bankruptcy?

Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?
*** NOTE 1 *** We provide consignment sales services to POPR and ESG

Oo

a 2. Summary of Cash Activity for All Accounts

19.

20.

21.

22.

23.

Total opening balance of all accounts

This amount must equal what you reported as the cash on hand at the end of the month in the previous
month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. g_3,166,022.(

Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the

date paid, payee, purpose, and amount. Include all cash payments, debit card

transactions, checks issued even if they have not cleared the bank, outstanding

checks issued before the bankruptcy was filed that were allowed to clear this month,

and payments made by other parties on your behalf. Do not attach bank statements

in lieu of Exhibit D. -$ 1,902,653.(

Report the total from Exhibit D here.

Net cash flow

Subtract line 21 from line 20 and report the result here.
This amount may be different from what you may have calculated as net profit.

Cash on hand at the end of the month
Add line 22 + line 19. Report the result here.
Report this figure as the cash on hand at the beginning of the month on your next operating report.

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

$ 2,730,136.(

+ § 1,263,369.(

= 3 3,993,505.(

a 3. Unpaid Bills

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

24. Total payables g 142,778.91
(Exhibit E)
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Debtor Name Free Speech Systems LLC Case number 22-60043

a 4. Money Owed to You

25.

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from
Exhibit F here.

Total receivables

g 988,636.24

(Exhibit F) Note - In the interest of clarity, this does not include approximately $1,200,000 that debtors processor is withholding

as a reserve, which funds would have otherwise been collected in 4/2024.

a 5. Employees

26.
27.

29.
30.
31.

32.

33.

34.

35.
36.

What was the number of employees when the case was filed? 54
What is the number of employees as of the date of this monthly report? 44
= 6. Professional Fees
. How much have you paid this month in professional fees related to this bankruptcy case? $ 126,841.00
How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ _2,298,944.C
How much have you paid this month in other professional fees? $ __ 7,263.00
How much have you paid in total other professional fees since filing the case? ¢ 833,949.00
Note: Line 28. and 29.includes Fess for Sub V Trustee, Trustee Counsel and FSS Bankruptcy Counsel, while Line 30. and 31.
includes Attorneys Fees, Accounting Fees and Tax Preparation Fees
a 7. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column A Column B Column C
Projected — Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month’s this report. from Column A.
report.
Cash receipts $ 2,780,958.C — g3,166,022.¢ = ¢ 385,064.00
Cash disbursements g 2,771,666.C _ 5 1,902,653.C = 5 869,013.00
Net cash flow $ 9,292.00 — | ¢ 1,263,369.C g 1,254,077.C
Total projected cash receipts for the next month: Note: The difference between projected and actual $ 2,518,215.C
cash receipts is the retum of a credit card processing
Total projected cash disbursements for the next month: reserve of $500,000 = § 2,350,055.C

37.

Total projected net cash flow for the next month:

= 3 168,160.00

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7 8. Additional Information

If available, check the box to the left and attach copies of the following documents.

WW 38.
WwW 39.
O 40.
O 41.
O 42.

Bank statements for each open account (redact all but the last 4 digits of account numbers).
Bank reconciliation reports for each account.

Financial reports such as an income statement (profit & loss) and/or balance sheet.

Budget, projection, or forecast reports.

Project, job costing, or work-in-progress reports.

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FORM 425C Exhibit C
Cash Receipts - April 2024

Cadence Bank Deposits Account

Description Total Amount

Credit Card Receipts - InfoWars Store 2,269,782.20
Cash / Check Receipts - InfoWars Store 125.09
Sweetwater - Return of Merchant Deposit 500,000.00
AD Revenue - Twitter 418.82
Promotional Payments - My Pillow 3,816.39
Promotional Payments - Rehoboth Medical 2,951.01
Promotional Payments - Legacy Partners 388,888.00

3,165,981.51

Cadence Bank Operations Account

Description Total Amount
Cash Back / Rebate 40.00
40.00

Cadence Bank Donations Account

Description Total Amount

Unsolicited Donations - Cash/Check -

TOTAL CASH RECEIPTS 3,166,021.51

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TOTAL CASH DISBURSEMENTS

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FORM 425C Exhibit E
Total Payables

As of April 30, 2024
From Amount Due Date
Trade AP
Jonathon Wolfe 10,500.00 11/07/2023
Encompass 35,302.88 04/10/2024
Encompass 23,370.41 04/10/2024
Encompass 23,370.41 04/25/2024
Novasors (Centrinex LLC) 5,922.24 05/10/2024
Lease Direct 3,609.14 05/16/2024
102,075.08
Inventory
Hi Tech Pharm 163,391.47 12/20/2023
Hi Tech Pharm 184,591.36 02/14/2024
NutraSimple Products 57,375.00 03/26/2024
Yellow Emperor 93,750.00 12/13/2023
499,107.83
Legal / Consulting Fees
Melissa Haselden 5,219.00 01/31/2024
Melissa Haselden 13,211.00 01/31/2024
Melissa Haselden 21,186.00 02/29/2024
Melissa Haselden 56,980.00 03/31/2024
Melissa Haselden 45,000.00 04/30/2024
141,596.00
Total Accounts Payable 742,778.91

(a) Disputed

(b) Not due till product is ready to ship and has been manufactured

(c) Did not receive invoice till April of 2024

(a)

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FORM 425C Exhibit F
Total Receivables

Free Speech Systems LLC does not have traditional receivables from our customers. Virtually all
our transactions happen via our on-line store and aggregated by our third party credit card
processor. There is a lag between the transaction on the on-line store and the funding from
our processor. Therefore, we don't have traditional customer receivables but have included
our daily processor deposits that are unpaid as of the end of the month as receivables

As of April, 2024
From Amount Due Date
Processor T 120,947.44 4/18/2024
Processor T 94,770.20 4/19/2024
Processor T 56,543.19 4/20/2024
Processor T 73,741.88 4/21/2024
Processor T 103,253.63 4/22/2024
Processor T 70,001.57 4/23/2024
Processor T 82,562.70 4/24/2024
Processor T 62,999.63 4/25/2024
Processor T 79,358.66 4/26/2024
Processor T 53,537.44 4/27/2024
Processor T 59,714.76 4/28/2024
Processor T 66,606.32 4/29/2024
Processor T 64,598.82 4/30/2024
988,636.24

FSS switched credit card processors in October in order to reduce our bankcard rate from 7.0% to
5.5%. The settlement period in the new contract is listed as 5-10 business days and it has

been averaging 12 days. This is why this Exhibit reflects 13 separate receivables. As of the date
of this MOR filing, $272,260.83 of the above AR has been collected by FSS.
Case 22-60043 Document 915 Filed in TXSB on 05/30/24 Page 15 of 15

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